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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

   UNITED STATES OF AMERICA

   v.                                                Case No. 8:13-cr-120-T-33TGW

   BRIAN E. SIMMONS

                            FORFEITURE MONEY JUDGMENT

          THIS CAUSE comes before the Court upon the United States' Motion for a

   Forfeiture Money Judgment in the amount of $790,421.28.

          Being fully advised of the relevant facts, the Court hereby finds that at least

   $790,421.28 in proceeds was obtained from the wire fraud scheme to which the

   defendant pled guilty.

          Accordingly, it is hereby:

          ORDERED, ADJUDGED, and DECREED that for good cause shown, the

   United States= motion is GRANTED.

          It is FURTHER ORDERED that, pursuant to 18 U.S.C. § 981(a)(1)(C), 28

   U.S.C. § 2461(c), and Rule 32.2(b)(2) of the Federal Rules of Criminal Procedure,

   the defendant be held jointly and severally liable with co-defendant Tressa Guy

   and any other subsequently convicted co-conspirators for a forfeiture money

   judgment in the amount of $790,421.28.

          It is FURTHER ORDERED that, upon entry of this order, it shall become a

   final order of forfeiture as to the defendant.
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         The Court retains jurisdiction to address any third party claim that may be

   asserted in these proceedings, to enter any further order necessary for the

   forfeiture and disposition of such property, and to order any substitute assets

   forfeited to the United States up to the amount of the forfeiture money judgment.

         DONE and ORDERED in Tampa, Florida, this 17th day of January, 2014.




   Copies to:
   Natalie Hirt Adams, AUSA
   Counsel of Record




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